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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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11   PEDRO RODRIGUEZ,                         )     NO. EDCV 18-400-JGB (AGR)
                                              )
12                        Plaintiff,          )
                                              )     ORDER ACCEPTING FINDINGS AND
13       v.                                   )     RECOMMENDATION OF UNITED
                                              )     STATES MAGISTRATE JUDGE
14   NEIL MCDOWELL, et al.,                   )
                                              )
15                        Defendant.          )
                                              )
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              Pursuant to 28 U.S.C. § 636, the Court has reviewed the complaint, records on
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     file, and the Report and Recommendation of the United States Magistrate Judge. No
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     objections to the Report have been filed. The Court accepts the findings and
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     recommendation of the Magistrate Judge.
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              IT IS ORDERED as follows:
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              (1) Defendants’ motion to dismiss the First Amended Complaint under Fed. R.
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     Civ. P. 12(b)(6) is granted;
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              (2) Plaintiff’s Eighth Amendment claims against Defendants McDowell, Moore,
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     Maletz, Newton and Deering based on Plaintiff’s spinal condition is dismissed without
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     prejudice for failure to exhaust administrative remedies; and
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              (3) All other claims are dismissed with prejudice.
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